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                                                           May 31, 2022

     VIA ECF

     Honorable Robert Kugler, U.S.D.J.                                 Honorable Thomas I. Vanaskie (Ret.)
     U.S. District Court - District of New Jersey                      Special Master
     Mitchell S. Cohen Building & US                                   Stevens & Lee
     Courthouse                                                        1500 Market St., East Tower, Suite 1800
     1 John F. Gerry Plaza, Courtroom 4D                               Philadelphia, Pennsylvania 19103-7360
     4th and Cooper Streets
     Camden, New Jersey 08101

                Re:        In re Valsartan, Losartan, and Irbesartan Liability Litigation,
                           Case No. 1:19-md-02875-RBK (D.N.J.)

     Dear Judge Kugler and Judge Vanaskie:

                Please accept this letter on behalf of Plaintiffs in advance of tomorrow’s case management

     conference.

          1. Plaintiffs’ Proposed Schedule for Liability Expert Reports, Rule 56 Motions, and
             Losartan/Irbesartan Productions.

                Plaintiffs wrote to Defendants on May 19, 2022, in an effort to reach agreement on a case

     management plan to meet the Court’s directions for moving this litigation forward. The letter,

     attached hereto as Exhibit 1, addressed three primary areas:                       (1) liability expert reports,

     depositions, and Daubert motions, (2) dispositive motions, and (3) Losartan and Irbesartan.
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        The Parties spoke on May 27, 2022, and as discussed in more detail below, the Parties

 appear to largely be on different pages in their understanding of what is necessary and the Court’s

 expectations going forward.

        Plaintiffs propose a comprehensive schedule, with the exception of dates that may be

 impacted by the class certification rulings, as follows:

                                            Expert Reports

        July 18, 2022 – Plaintiffs’ service of liability expert reports.

        August 19, 2022 – Defendants’ service of liability expert reports.

        September 12, 2022 – Plaintiffs’ service of rebuttal liability expert reports (if any).

        September 30, 2022 – Completion of liability expert depositions

        October 14, 2022 – Daubert motions filed regarding liability experts

        November 7, 2022 – Responsive briefs on Daubert motions filed

        November 21, 2022 – Reply briefs on Daubert motions filed

 Note: Plaintiffs believe that the deadlines for the merits reports of experts whose opinions are
 limited solely to class issues (i.e., Dr. Rena Conti, Laura Craft, and the corresponding defense
 experts) should be set on a schedule aligned with the disposition of Daubert and class certification
 motions.

                                         Dispositive Motions

        October 24, 2022 – Dispositive motions filed

        December 2, 2022 – Responsive briefs on dispositive motions filed

        December 23, 2022 – Reply briefs on dispositive motions filed

 Note: Plaintiffs believe that the Order should contemplate the need for class notice and the scope
 and timing of class notice and the notice period.
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        Last, Plaintiffs propose that Defendants file their respective Answers and Cross-Claims on

 or before June 30, 2022.

        Liability Experts:

        Defendants requested clarification as to what experts Plaintiffs see falling within this

 category. Plaintiffs explained that this would encompass the liability issues, including organic

 chemistry and the fact that the potential creation of nitrosamines should have been appreciated and

 tested for using available technology, cGMP issues, the broader regulatory regime, supply chain,

 and the damages experts in the class actions. Plaintiffs reiterated that, as recognized in their letter,

 those experts keyed only to class issues could be scheduled with reference to the class certification

 motions and their disposition, but this was an issue that would benefit from the Court’s guidance

 as well. Defendants also asked in what cases did Plaintiffs propose to present these liability expert

 reports, and Plaintiffs advised this would be in the context of the master economic loss and medical

 monitoring complaints, and the personal injury cases.

        Defendants responded that they believed the better plan would be to select a handful of

 personal injury cases, and serve liability and specific causation reports in just those cases. Based

 on the Court’s clear statements on the direction of the litigation over the past few years, Plaintiffs

 disagreed, and expressed surprise that the Defendants continue to promote personal injury

 bellwether cases as the focal point. With regard to specific causation experts in individual personal

 injury cases, Plaintiffs agree that will be necessary, but not at this juncture at the expense of

 pressing forward with the parts of the litigation that have been prioritized. Adding those experts

 to the schedule now would unnecessarily burden the parties with an additional category of expert

 work. Plaintiffs pointed to the Court’s statements, including those quoted below:
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              Where do we go from here? I guess the next thing up are the class
              certification motions. And we'll do those, according to the schedule,
              in May. That's fine.

              But I don't see, frankly, that anything else should be dependent on
              the outcome of those class action motions. I mean, those individuals
              or organizations either have a claim individually or a claim as part
              of a class. So they're not going to go away depending on the outcome
              of the motions. But I understand they're important, and we'll take
              care of them.

              Then I foresee that there might be some summary judgment
              motions. There's still some legal issues out there, because some of
              these state laws are at play here and, you know, some states don't
              support certain causes of action and all that stuff. We dealt with
              some of that in the motions to dismiss, but there's probably some
              cleanup to do there.

              But I will urge that the parties talk to each other, because, I mean,
              some of those legal issues are pretty clear and perhaps you can come
              to some kind of stipulation and not have to file a lot of papers.

              Okay. So they're going to come. And there's no reason we have to
              wait for those to be filed.

              And then we've talked about bellwether cases. Not my favorite
              things to do in the world, but there are. I'm not a big fan of them. I
              don't think they do much good, but, you know, we'll try them. But,
              you know, they can be the best of a lot of bad options in a case.

              But I want to repeat something I said at the beginning of all this. I
              am not going to be trying any personal injury bellwether weather
              cases.

              The personal injury cases are just too idiosyncratic for us to get the
              answer to the first and most important questions here, which is
              general causation.

              So we'll pick a case if we have to, probably a third-party payor case
              because the damages are relatively easy to calculate in those cases,
              and just to get a jury to say yes or no on the question of general
              causation and get that done.
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               I think the bottom line I'm trying to tell you, lawyers, is that I expect
               that my role in this will be done by the end of this year. And the
               logistics of that are that once I'm done what I can do is I notify the
               MDL panel that I'm done and request that they send the cases back
               where they came from or where they should have been originally
               filed but for the direct filing order. And they generally do that.

               But that means, of course, that we lose one of the benefits of this
               being an MDL, that is, all of us together, all of you together in this
               case.

               And you're going to be faced with the prospect now of simultaneous
               litigation in dozens and dozens of jurisdictions. There will be some
               cases remaining in the District of New Jersey. Well, they'll be
               distributed around the district also.

               Of course, once the MDL part of this is done, what you're going to
               see -- because we've seen this in all these cases around the country,
               is you're going to find some hot shot plaintiff's lawyer convincing
               some state court judge to try some case, one of these cases, because
               he or she thinks they're going to get a big, broad -- big number and
               make a name for themselves. And there's no way that can be
               stopped.

               We've been lucky that the state courts have been deferring to
               us, the federal system, while we manage this mess.

 (2/28/2022 Tr. 40:2-42:12).

               THE COURT: Well, that's fine. I mean, keep working on [Daubert
               clarification], because we're not on the cusp of filing Rule 56
               motions anyway, but maybe -- maybe at the late May conference we
               can talk about Rule 56 motions and what your contemplations are.

               Now, I understand that the motions are going to be based on the lack
               of an expert report as to certain claims, that's fine. But I'd also like
               to know if the defense is contemplating or even if the plaintiffs are
               contemplating any other kind of Rule 56 motions. And let's talk
               about that in May. Okay?

 (4/29/2022 Tr. 14:5-14).
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        Plaintiffs are eager to move this litigation, and in particular the class actions, to the point

 where the cases can be trial ready. It is necessary to address liability experts in order to do so, and

 to recognize that the liability expert opinions will cut across all three categories of cases and thus

 move the entire litigation forward as a whole.

        Dispositive Motions:

        Defendants have raised their desire to file dispositive motions on multiple occasions.

 Plaintiffs too intend to file such motions. The liability expert reports will need to be served prior

 to the filing of such motions since both sides will cite to the case law indicating that dispositive

 motions are premature before expert reports on the impacted issues are exchanged.                More

 important, Plaintiffs are eager to reach a point of trial readiness.

        During the last conference, the Court asked the Parties to provide some definition as to

 what dispositive motions are contemplated. Plaintiffs contemplate motions for partial summary

 judgment on issues including breach of express warranty, breach of implied warranty, consumer

 protection statutes, manufacturing defect, failure to warn/misrepresentation, and violation of

 cGMPs.

        Defendants raised the issue of what state law the motions would be filed under (without

 offering any suggestion other than focusing on individual personal injury bellwether cases and the

 state law applicable to each individual case), and Plaintiffs responded that they would likely follow

 the state groupings defined in the class briefing, subject to the Court’s guidance on this issue,

 including the possibility that the Court could ask that the motions be focused on the claims to be

 presented in one or more proposed class groupings against a particular manufacturer defendant or
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 defendants. Plaintiffs do not see the scope of the litigation as an insurmountable impediment to

 dispositive motion practice and look forward to advancing to trial however the process unfolds.

        Answers:

        Plaintiffs believe that at this stage of the litigation, long after determination of the motions

 to dismiss and motions to amend, with liability experts and dispositive motions coming,

 Defendants should be required to file their Answers and any cross-claims.

        Defendants advised that they believe this would be premature but did not offer a preferred

 time frame or rationale for waiting.

        Losartan and Irbesartan:

        Plaintiffs believe that it would be prudent for the production of documents regarding the

 other ARBs in this MDL to begin to roll out shortly. Plaintiffs would likely need to do little more

 than modify the existing requests for production to apply to Losartan and Irbesartan. The Parties

 have now begun resolution discussions as ordered by the Court, and it is quite unlikely that any

 defendant would be interested in resolving less than all of the claims brought against it. Thus, the

 Plaintiffs need information such as the core discovery, as with valsartan, and to know the scope

 and quantity of the contaminated pills sold. This will also allow for the Parties to start to develop

 the cases involving those drugs in case resolution cannot be reached.

        Defendants predictably took the position that this would be premature and counter-

 productive, but offered no proposal for when they believe this would be appropriate. To the extent

 Defendants may suggest that this production would be burdensome, they should explain why the

 information related to losartan and irbesartan has not already been prepared for production, at least

 to a significant extent. The need for this production cannot be a surprise.
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     2. Holding the Clarification Motions Regarding General Causation in Abeyance.

          Defendants filed a motion for clarification of the Court’s Daubert decisions admitting the

 NDEA opinions of Dr. Hecht and Dr. Lagana without qualification on March 18, 2022. (ECF

 1976). As previously explained, Plaintiffs planned to oppose this motion and cross-move to clarify

 the Order with regard to Dr. Panigrahy, which limited his NDEA opinions to pancreatic cancer,

 despite no limitation being stated during the Court’s oral opinion.

          The Court directed the Parties to meet and confer about whether these motions are

 necessary at this time. During the meet and confer, Plaintiffs proposed including the motions as

 part of the first set of relevant trial motions. Defendants explained that they intend to file an

 omnibus Rule 56 motion for summary judgment on personal injury claims related to NDEA and

 cancers other than pancreatic, and thus want to have the clarification motions decided before any

 Rule 56 motions based on the underlying Daubert decisions. Plaintiffs agreed that if the Court is

 inclined to allow the filing of such a motion (Plaintiffs would object to the filing of Rule 56 motion

 directed to specific cases at this phase), Plaintiffs would agree to hold these motions, to be heard

 prior to the filing of dispositive motions. This was all discussed at the last case management

 conference and left for further discussion.

          Over the last month, Defendants never reached out to Plaintiffs to confirm or amend their

 initial proposal concerning these clarification motions. Plaintiffs remain prepared to discuss this

 issue.

     3. Defendants’ Motion for Leave to File Class Certification Surreplies.

          Defendants filed a motion to leave to file a surreply in opposition to class certification, and

 Plaintiffs asked the Court to strike that motion as procedurally improper. If the Court decides not
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 to strike the motion, Plaintiffs plan to file a formal opposition in accordance with the Court’s

 motion calendar.

     4. Defendants’ Request for Dismissal of Paulette Silberman’s Medical Monitoring
        Claims.

         On May 16, 2022, Defendants emailed the PEC asking for the voluntary dismissal of

 Paulette Silberman’s medical monitoring claims. This request was based on a footnote in

 Plaintiffs’ reply in support of the class certification of the medical monitoring claims. However,

 once alerted to this by Defendants, Plaintiffs reviewed that footnote and realized what was intended

 was not communicated, likely due to the volume of edits that were ongoing prior to submission.

 Plaintiffs intended to communicate that they would dismiss Mrs. Silberman’s medical monitoring

 claims against CVS if the Court determined that those claims rendered her case unnecessarily

 complex, in other words, if necessary. As the Court may remember, Mrs. Silberman purchased

 her valsartan from QuickChek, which CVS subsequently purchased, together with its liability, and

 Defendants argue that this serves to exclude her as a class plaintiff. Plaintiffs do not believe this

 issue is difficult to address on a full record before a trial involving this specific class representative.

     5. PFS Deficiencies and Orders to Show Cause.

         Plaintiffs will be prepared to address this issue during the case management conference.

                                          Respectfully,



                                          ADAM M. SLATER

 Cc: All counsel of record (via ECF)
